NOTE: THIS OPINION IS SUPPLEMENTAL TO OPINION NO. 87-073
ATTORNEY GENERAL LOVING HAS ASKED ME TO RESPOND TO YOUR RECENT REQUEST IN WHICH YOU ASK, IN EFFECT:
  DO THE LAWS PROHIBITING OKLAHOMA HORSE RACE COMMISSION MEMBERS AND THEIR IMMEDIATE FAMILIES FROM RECEIVING PURSES, STAKES, AWARDS, STALLION AWARDS, OR MARES AWARDS PAID OUT OF THE OKLAHOMA-BREEDING DEVELOPMENT REVOLVING FUND, EXTEND TO MEMBERS OF THE COMMISSION STAFF AS WELL?
  IN YOUR LETTER OF INQUIRY YOU ASK WHETHER THIS OFFICE WILL, BY WAY OF SUPPLEMENTING ATTORNEY GENERAL OPINION NO. 87-073, EXTEND THE INELIGIBILITY IMPOSED UPON THE COMMISSION, TO INCLUDE THE COMMISSION EXECUTIVE DIRECTOR AND ALL OF THE COMMISSION FULL-TIME AND PART-TIME EMPLOYEES. IN MAKING THIS REQUEST, YOU INDICATE THAT THE COMMISSION HAS, AS OF JANUARY 1, 1992, TAKEN THE OKLAHOMA-BRED REGISTERING AGENCY PROCESS IN HOUSE, AND CONSEQUENTLY, NOW DIRECTLY PERFORMS ALL FUNCTIONS OF ADMINISTERING THE OKLAHOMA-BRED PROGRAM. AS YOU HAVE TAKEN ON THIS FUNCTION, YOU CONCLUDE, IN YOUR REQUEST, THAT "IT SEEMS THAT THE EXTENSION OF THE PROHIBITION TO ALL COMMISSION EMPLOYEES WOULD BE APPROPRIATE TO AVOID A CONFLICT OF INTEREST."
AS YOU KNOW, THE FUNCTION OF AN ATTORNEY GENERAL'S OPINION IS TO, IN A FORMAL WRITTEN OPINION, APPRISE A CLIENT OF THE STATE OF THE LAW. IT IS NOT THE FUNCTION OF AN ATTORNEY GENERAL'S OPINION TO EITHER MAKE OR AMEND LAW. WHILE, AS YOU SUGGEST THERE MAY WELL BE MORE OF AN OPPORTUNITY FOR CONFLICTS OF INTEREST TO DEVELOP BECAUSE THE COMMISSION HAS TAKEN THE FUNCTION OF THE OKLAHOMA-BRED REGISTERING AGENCY IN HOUSE, THE LAWS RESPECTING THE REQUIRED CONDUCT OF COMMISSION EMPLOYEES HAS NOT CHANGED.
AS THIS OFFICE OPINED IN ATTORNEY GENERAL'S OPINION 87-073, WHILE THE LAW PROHIBIT COMMISSIONERS AND MEMBERS OF THEIR FAMILIES, FROM RECEIVING PURSES, STAKES, REWARDS, STALLION AWARDS OR MARE AWARDS OUT OF THE OKLAHOMA BREEDING DEVELOPMENT REVOLVING FUND, THE LEGISLATURE DID NOT ENACT LAWS PROHIBITING COMMISSION STAFF MEMBERS FROM RECEIVING SUCH AWARDS. SINCE THE ISSUANCE OF THAT OPINION, THE LAW HAS NOT CHANGED THE LEGISLATURE HAS NOT ENACTED LAWS PROHIBITING STAFF MEMBERS FROM RECEIVING SUCH AWARDS. IN SHORT, THE PRESENT LAW DOES NOT PROHIBIT COMMISSION STAFF MEMBERS FROM RECEIVING AWARDS OUT OF THE OKLAHOMA BREEDING DEVELOPMENT SPECIAL FUND ACCOUNT. ACCORDINGLY, WE ARE NOT IN A POSITION TO SUPPLEMENT OUR PRIOR OPINION TO EXTEND THE PROHIBITIONS TO COMMISSION STAFF MEMBERS.
(NEAL LEADER)